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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                                                                       Case No.: 22-17842-PDR
In re:                                                                 Chapter 11
VITAL PHARMACEUTICALS, INC., et al.,                                   (Jointly Administered)
       Debtors.                                /

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the following documents filed by Creditor and Interested Party

John H. Owoc, were served via transmission of Notices of Electronic Filing generated by CM/ECF

to those parties registered to receive electronic notices of filing in this case on June 20, 2023:

       Notice of Hearing on the Emergency Motion to Dismiss Debtor JHO Real Estate
       Investment, LLC [D.E. 1487]; and

       Notice of Hearing on the Motion for Entry of Order for Committee of Unsecured
       Creditors to Show Cause Why Sanctions Should Not Be Imposed for Violations of the
       Court’s Protective Order and Confidentiality Agreement and for Other Relief [D.E.
       1489].

Dated: June 21, 2023
                                                       Respectfully submitted,

                                                       By: /s/ Irwin R. Gilbert

                                                       IRWIN R. GILBERT
                                                       Counsel for Creditor and Interested Party
                                                       John H. Owoc
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